 Case 2:11-cr-00166-LRH-CWH            Document 102         Filed 06/23/15   Page 1 of 1



 1
 2
 3
 4
 5
 6                               UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8                                               *****
 9   UNITED STATES OF AMERICA,                     )
                                                   ) 2:11-CR-00166-LRH-(CWH)
10                                Plaintiff,       )
                                                   ) ORDER
11   vs.                                           )
                                                   )
12   TONYA RUSHING,                                )
                                                   )
13                                Defendant.       )
                                                   )
14
15          Court Reporter Donna Davidson is requested to prepare and file a transcript of the
16   following:
17                 Defendant’s Sentencing Hearing on May 4, 2015.
18
19          IT IS HEREBY ORDERED that fees for the transcript designated shall be paid by the
20   United States as provided under 28 U.S.C. § 753(f).
21          DATED this 23rd day of June, 2015.
22
23                                                         _______________________________
                                                           LARRY R. HICKS
24                                                         UNITED STATES DISTRICT JUDGE
25
26
27
28
